                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 AT NASHVILLE


JOSHUA GARTON,                           §
                                         §
        Plaintiff,                       §
                                         §
v.                                       §         Case No. 3:21-cv-00338
                                         §
W. RAY CROUCH, DAVID RAUSCH,             §         JURY DEMANDED
BRADLEY NEALON, RUSSELL                  §
WINKLER, JOSHUA MELTON,                  §
JOSEPH CRAIG, DONALD ARNOLD,             §
ANDREW VALLEE, and                       §
CITY OF DICKSON, TENNESSEE,              §
                                         §
        Defendants.                      §


                              AMENDED COMPLAINT


        For his Amended Complaint against the Defendants, Plaintiff Joshua Garton states

to the Court and the Jury as follows:

                                 I. INTRODUCTION

        1.     In January 2021, Plaintiff Joshua Garton was investigated and arrested by

a joint law enforcement taskforce for posting a fake photograph on social media that was

critical of law enforcement. The fake photograph at issue was crudely designed to look as

though people were urinating on the grave of a deceased police officer. Mr. Garton’s fake

photograph also included the overtly political message: “Just showing my respect to

Deputy Daniel Baker from the #dicksonpolicedepartment.”

        2.     The Defendants who were responsible for arresting Mr. Garton had actual

knowledge—at the time that they arrested and charged him—that the photograph that Mr.



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Garton had posted on Facebook was fake. At the urging of Defendant W. Ray Crouch,

though—who wanted Mr. Garton punished for disrespecting law enforcement within his

jurisdiction—they arrested Mr. Garton anyway and took him into custody. Thereafter,

Mr. Garton was charged with a crime, and he was incarcerated for nearly two weeks while

he awaited a hearing. Mr. Garton was ultimately released from jail after the bogus charge

at issue was dismissed for lack of probable cause following Mr. Garton’s first appearance

in court.

        3.      Internal correspondence among the Defendants obtained through a public

records request confirms both the Defendants’ actual knowledge that “we violated [Mr.

Garton’s] 1st amendment rights” and the Defendants’ actual knowledge that Mr. Garton

“has a right to post.” See, e.g., Doc. #37-2, PageID ## 726–27. 1 Even so, because Mr.

Garton had disrespected law enforcement, the Defendants vowed that: “[t]hat doesn’t

mean there are no consequences.” Id. at PageID #727. Accordingly, the Defendants

arrested Mr. Garton, charged him with a crime, and held him in jail on a bogus charge for

nearly two weeks while he awaited a hearing. In the interim, the Defendants also

humiliated Mr. Garton through reputationally damaging press releases and other media

that prominently featured Mr. Garton’s mugshot and the fact of his arrest.

        4.      Upon review by a court, the bogus criminal charge that the Defendants

caused to be brought against Mr. Garton was dismissed outright for lack of probable cause

that Mr. Garton’s speech constituted a criminal offense. Thereafter, one Defendant

lamented: “That is not good.” Another Defendant complained—correctly—that: “We are

finished.” This action followed.



1The redactions in the appended public records are the TBI’s. The TBI’s counsel has also refused to affirm
or certify independently that the redactions are legally warranted.

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                                      II. PARTIES

       5.     Plaintiff Joshua Garton is a transient resident of Rutherford County who

was investigated, arrested, prosecuted, and incarcerated by a joint law enforcement

taskforce for disrespecting law enforcement. He is a citizen of Tennessee and may be

contacted through his counsel.

       6.     Defendant W. Ray Crouch is the current District Attorney General for

Tennessee’s 23rd Judicial District. At all times relevant to this action, Defendant Crouch

was professionally obligated to comply with the Constitution, to maintain a minimum

level of professional competence, to refrain from abusing the legal process, and to avoid

acting in “knowing disregard of obligations” or engaging in “a systematic abuse of

prosecutorial discretion.” Upon information and belief, Defendant Crouch failed to

comply with these obligations by directing law enforcement to investigate, retaliate

against, arrest, and charge Mr. Garton because he had disrespected law enforcement.

Defendant Crouch is sued in his individual capacity regarding specified tort claims and in

his official capacity regarding the Plaintiff’s claim for injunctive relief. Defendant Crouch

may be served at his residence located at 119 Stratton Blvd., Ashland City, Tennessee,

37015-1613, or wherever he may be found.

       7.     Defendant David Rausch is the current Director of the Tennessee Bureau of

Investigation, a statewide law enforcement agency. In that role, upon information and

belief, Defendant Rausch participated in the Defendants’ investigation of, false arrest of,

malicious prosecution of, and unconstitutional retaliation against Mr. Garton. At all

times relevant to this action, Defendant Rausch had an obligation to comply with the

Constitution and enforce the law, rather than participate in a conspiracy to violate it.

During the events giving rise to this Complaint, Defendant Rausch also maintained that

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citizens who care about the First Amendment and criticize law enforcement are akin to

insurrectionists. Defendant Rausch is sued in his individual capacity regarding specified

tort claims and in his official capacity regarding the Plaintiff’s claim for injunctive relief.

Defendant Rausch may be served at his residence located at 115 Durham Ln., Mt. Juliet,

TN, 37122-0618, or wherever he may be found.

       8.     Defendant Bradley Nealon is the Deputy Director of the TBI. In that role,

upon information and belief, Defendant Nealon participated in the Defendants’

investigation of, false arrest of, malicious prosecution of, and unconstitutional retaliation

against Mr. Garton. Defendant Nealon is sued in his individual capacity only, and he may

be served at his residence located at 1594 Golliher Rd., Rockwood, Tennessee, 37854-

5252, or wherever he may be found.

       9.     Defendant Russell Winkler was at all times relevant to this Complaint the

Special Agent in Charge at the Tennessee Bureau of Investigation. In that role, upon

information and belief, Defendant Winkler participated in the Defendants’ investigation

of, false arrest of, malicious prosecution of, and unconstitutional retaliation against Mr.

Garton. Defendant Winkler is sued in his individual capacity only, and he may be served

at his residence located at 725 Heritage Rd., Lebanon, Tennessee, 37087-6547, or

wherever he may be found.

       10.    Defendant Joshua Melton is the Assistant Director of the Criminal

Investigation Division of the Tennessee Bureau of Investigation. In that role, upon

information and belief, Defendant Melton participated in the Defendants’ investigation

of, false arrest of, malicious prosecution of, and unconstitutional retaliation against Mr.

Garton. Defendant Melton is sued in his individual capacity only, and he may be served

at his residence located at 1433 Swamp Leanna Rd., Murfreesboro, Tennessee, 37129, or

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wherever he may be found.

       11.    Defendant Joseph Craig is an Assistant Special Agent in Charge at the

Tennessee Bureau of Investigation. Defendant Craig has served as a TBI agent for twenty-

two years and is currently assigned to the Middle Tennessee Criminal Investigations

Division, where he supervises field agents covering territory that encompasses Dickson

County. In that role, Defendant Craig participated in the Defendants’ investigation of,

false arrest of, malicious prosecution of, and unconstitutional retaliation against Mr.

Garton. At all times relevant to this Complaint, Defendant Craig acted, by virtue of his

position as a TBI agent, under color of state law. Defendant Craig is sued in his individual

capacity only, and he may be served at his residence located at 2437 New Cut Rd.,

Greenbrier, Tennessee, 37073-5165, or wherever he may be found.

       12.    Defendant Andrew Vallee is a Special Agent with the Tennessee Bureau of

Investigation. Defendant Vallee is assigned to the Technical Services Unit and specializes

in digital forensics, cellular network analysis, WiFi analysis, and various other technology

related disciplines. In that role, Defendant Vallee participated in the Defendants’

investigation of, false arrest of, malicious prosecution of, and unconstitutional retaliation

against Mr. Garton. At all times relevant to this Complaint, Defendant Vallee acted, by

virtue of his position as a TBI agent, under color of state law. Defendant Vallee is sued in

his individual capacity only, and he may be served at his residence located at 631 Keeton

Ave. 1, Old Hickory, Tennessee, 37138-3813, or wherever he may be found.

       13.    Defendant Donald Arnold is a Captain in the Dickson Police Department

who was responsible for working with the Tennessee Bureau of Investigation, on behalf

of the City of Dickson, to falsely arrest, maliciously prosecute, and unconstitutionally

retaliate against Mr. Garton. Defendant Arnold is sued in his individual capacity, and he

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may be served at his residence located at 1012 Laurel Hills Dr., Dickson, Tennessee,

37055-4068, or wherever he may be found.

       14.    Defendant City of Dickson, Tennessee, is a Tennessee municipality. The

City of Dickson is liable for its official policies, customs, and practices and for its failure

to train its employees when it acts with deliberate indifference to a plaintiff’s clearly

established constitutional rights, as it did here.      The City of Dickson is a political

subdivision of the State of Tennessee and, among other functions, it operates and

maintains a law enforcement agency known as the Dickson Police Department. At all

times relevant to this action, the City of Dickson and its agents acted under color of state

law. Service upon the City of Dickson may be made upon Mayor Don L. Weiss Jr., at 600

East Walnut Street, Dickson, TN 37055.

                          III. JURISDICTION AND VENUE

       15.    This Court has jurisdiction over the Plaintiff’s federal claims in this civil

action pursuant to 28 U.S.C. §§ 1331 and 1343(a).

       16.    This Court has supplemental jurisdiction to adjudicate the Plaintiff’s state

law claims related to the Plaintiff’s federal claims in this action pursuant to 28 U.S.C.

§ 1367(a).

       17.    As the judicial district in which a substantial part of the events or omissions

giving rise to the Plaintiff’s claims occurred, venue is proper in this Court pursuant to 28

U.S.C. § 1391(b)(2).

       18.    As the judicial district in which one or more Defendants reside, and all

Defendants being residents of the State of Tennessee, venue is additionally proper in this

Court pursuant to 28 U.S.C. § 1391(b)(1).



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                               IV. FACTUAL ALLEGATIONS

        19.     The Plaintiff is a 29-year-old disabled male who suffers from mental illness.

As a result of the Defendants’ unconstitutional and tortious misconduct, the Plaintiff

spent nearly two weeks in jail for a non-existent crime and became homeless.

        20.     In January 2021, the Plaintiff pseudonymously posted the following

political message and accompanying fake photograph—otherwise known as a “meme” 2—

on Facebook, a social media website:




        21.     The above photograph does not actually depict the gravesite of Sergeant

Baker. Indeed, it looks nothing like Sergeant Baker’s gravesite. Instead, the photograph

was an altered image from The Rites’s 2009 album “Pissing On Your Grave” that




2A “meme” is an “interesting item (such as a captioned picture or video) or genre of items that is spread
widely online especially through social media.” See Merriam-Webster,             https://www.merriam-
webster.com/dictionary/meme (last accessed April 15, 2021).


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contained a crudely integrated professional headshot of Sergeant Baker, a public figure,

paired with the Plaintiff’s commentary regarding a matter of public concern. 3

        22.     Defendant Crouch was offended by the Plaintiff’s meme because it

disrespected a deceased member of local law enforcement. Accordingly, Defendant

Crouch demanded that the Tennessee Bureau of Investigation and the other Defendants

in this matter conduct a criminal investigation regarding it. Thus, at the direction of

Defendant Crouch, a joint task force of state and local law enforcement undertook to

investigate the Plaintiff’s meme in an effort to identify the Plaintiff and arrest him.

        23.     Through herculean investigative work—including “TBI agents visit[ing] the

gravesite of Baker”—the Defendants “quickly determined the photograph [was] not

authentic.” Defendant Craig, in particular, realized that the meme was a photoshopped

image in “a few seconds.”

        24.     The fact that the Plaintiff’s meme was not authentic complicated the

Defendants’ desire to arrest the Plaintiff for an actual criminal offense, such as

desecrating a grave.         Believing that disrespecting law enforcement still merited

“consequences,” though, the Defendants—acting in concert with one another—resolved

to continue their investigation and arrest the Plaintiff for some other crime instead.

        25.     Accordingly, even after determining that the meme at issue was not a

genuine photograph—and despite lacking any reason to believe a crime had been

committed—the TBI launched a manhunt and issued an all-points bulletin asking the


3 In May of 2018, Sergeant Daniel Baker of the Dickson Police Department was killed in the line of duty.
His death sparked widespread media coverage and, among other things, prompted the Tennessee General
Assembly to enact the controversial “Sergeant Daniel Baker Act”—codified at Tenn. Code Ann. § 39-13-
206—which accelerates review of death penalty cases and promotes faster executions. At the time, State
Representative Mary Littleton (R-Dickson), who sponsored the bill, was quoted in The Tennessean at saying
the bill was named to “memorialize Sgt. Baker and to continue his memory for those in Dickson County as
well as around the state.”

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public for help identifying the meme’s creator.

       26.    As examples of the TBI’s public statements and manhunt regarding the

Plaintiff’s meme, during the Defendants’ investigation into the Plaintiff’s meme, and to

secure assistance regarding it, the TBI issued the following public “news alert[s]”:




       27.    Ultimately, tips from local citizens and a “technical investigation conducted

by [Defendant] Vallee identified [Plaintiff] Joshua Garton as the individual possibly

responsible for the posting.”

       28.    After identifying the Plaintiff as the individual responsible for the meme,

the Defendants located the Plaintiff, interrogated him, charged him with Harassment,

booked him into the Dickson County Jail, and ensured that his bond was set at a punitive

amount of $76,000.00—an amount designed to ensure that the Plaintiff would have to

have a source hearing before he could post bail—in a deliberate effort to ensure that the

Plaintiff would remain incarcerated for an extended period of time.

       29.    The Defendants did not have probable cause to arrest the Plaintiff or to

believe that the Plaintiff had committed any crime, and they knew it. The Plaintiff’s

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photograph concerned a public figure regarding a matter of public concern. It also was

not directed to any member of Sergeant Baker’s family, though clearly established U.S.

Supreme Court precedent dictated that it would have been constitutionally protected even

if it had been. See generally Snyder v. Phelps, 562 U.S. 443 (2011). Despite the meme’s

heavy attention and its recirculation on social media by at least dozens of other

individuals, the Defendants also declined to investigate or arrest any other person who

posted the photograph at issue—including individuals who did send it to members of

Sergeant Baker’s family. Instead, because the Plaintiff was the creator of the meme at

issue and the person who was responsible for its anti-law enforcement message, the

Defendants singularly targeted, falsely arrested, and maliciously prosecuted the Plaintiff

alone because the Plaintiff was the person who had expressed a viewpoint that

disrespected and offended law enforcement.

       30.    At all times relevant to this action, the United States Supreme Court had

clearly established that:

       Official reprisal for protected speech “offends the Constitution [because] it
       threatens to inhibit exercise of the protected right,” Crawford–El v. Britton,
       523 U.S. 574, 588, n. 10, 118 S.Ct. 1584, 140 L.Ed.2d 759 (1998), and the law
       is settled that as a general matter the First Amendment prohibits
       government officials from subjecting an individual to retaliatory actions,
       including criminal prosecutions, for speaking out, id., at 592, 118 S.Ct. 1584;
       see also Perry v. Sindermann, 408 U.S. 593, 597, 92 S.Ct. 2694, 33 L.Ed.2d
       570 (1972) (noting that the government may not punish a person or deprive
       him of a benefit on the basis of his “constitutionally protected speech”).

Hartman v. Moore, 547 U.S. 250, 256 (2006).

       31.    At all times relevant to this action, the United States Supreme Court had

also clearly established that the “bedrock principle underlying the First Amendment is

that the government may not prohibit the expression of an idea simply because society

finds the idea itself offensive or disagreeable,” Texas. v. Johnson, 491 U.S. 397, 414

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(1989), and that “[g]iving offense is a viewpoint.” Matal v. Tam, 137 S. Ct. 1744, 1763

(2017). Indeed, the United States Supreme Court has held

       time and again that “the public expression of ideas may not be prohibited
       merely because the ideas are themselves offensive to some of their hearers.”
       Street v. New York, 394 U.S. 576, 592, 89 S.Ct. 1354, 22 L.Ed.2d 572 (1969).
       See also Texas v. Johnson, 491 U.S. 397, 414, 109 S.Ct. 2533, 105 L.Ed.2d
       342 (1989) (“If there is a bedrock principle underlying the First
       Amendment, it is that the government may not prohibit the expression of
       an idea simply because society finds the idea itself offensive or
       disagreeable”); Hustler Magazine, Inc. v. Falwell, 485 U.S. 46, 55–56, 108
       S.Ct. 876, 99 L.Ed.2d 41 (1988); Coates v. Cincinnati, 402 U.S. 611, 615, 91
       S.Ct. 1686, 29 L.Ed.2d 214 (1971); Bachellar v. Maryland, 397 U.S. 564,
       567, 90 S.Ct. 1312, 25 L.Ed.2d 570 (1970); Tinker v. Des Moines
       Independent Community School Dist., 393 U.S. 503, 509–514, 89 S.Ct. 733,
       21 L.Ed.2d 731 (1969); Cox v. Louisiana, 379 U.S. 536, 551, 85 S.Ct. 453, 13
       L.Ed.2d 471 (1965); Edwards v. South Carolina, 372 U.S. 229, 237–238, 83
       S.Ct. 680, 9 L.Ed.2d 697 (1963); Terminiello v. Chicago, 337 U.S. 1, 4–5, 69
       S.Ct. 894, 93 L.Ed. 1131 (1949); Cantwell v. Connecticut, 310 U.S. 296, 311,
       60 S.Ct. 900, 84 L.Ed. 1213 (1940); Schneider v. State (Town of Irvington),
       308 U.S. 147, 161, 60 S.Ct. 146, 84 L.Ed. 155 (1939); De Jonge v. Oregon,
       299 U.S. 353, 365, 57 S.Ct. 255, 81 L.Ed. 278 (1937).

Id.

       32.    At all times relevant to this action, the United States Court of Appeals for

the Sixth Circuit had also clearly established that the applicable and binding precedent

regarding offensive speech is not ambiguous, and that government officials are obliged to

comply with it. See, e.g., McGlone v. Metro. Gov't of Nashville, 749 F. App'x 402, 406,

n.2 (6th Cir. 2018) (“Nashville’s ‘guess’ is correct. Speech deemed hateful and offensive

is not only still protected by the First Amendment, it is the speech most in need of First

Amendment protection.”) (citing Texas v. Johnson, 491 U.S. 397, 414, 109 S.Ct. 2533, 105

L.Ed.2d 342 (1989) (“If there is a bedrock principle underlying the First Amendment, it

is that the government may not prohibit the expression of an idea simply because society

finds the idea itself offensive or disagreeable.”)).

       33.    The Defendants—one of whom is an attorney who wields extraordinary

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prosecutorial authority—neither care about nor feel constrained by clearly established

First Amendment law. Indeed, the Defendants’ internal correspondence reflects that they

abhor the rights that the First Amendment guarantees individuals like the Plaintiff.

       34.    For example, Defendants’ correspondence reflects their actual knowledge

that “we violated [Mr. Garton’s] 1st amendment rights” and that Mr. Garton “has a right

to post.” According to the Defendants, however, “[t]hat doesn’t mean there are no

consequences,” which the Defendants collectively ensured the Plaintiff experienced:




       35.    The “consequences” that the Defendants ensured would result from

disrespecting law enforcement included subjecting the Plaintiff to a false arrest and

malicious prosecution, incarcerating him for weeks, and broadcasting his mugshot and

the fact of his arrest to news media and the public in retaliation for disrespecting police.

       36.    The Defendants similarly believe that criticizing their constitutionally

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repugnant behavior is unwarranted. Indeed, the Defendants routinely characterized

criticism of their behavior as “threats.”

       37.    Defendant Rausch, in particular—the current Director of Tennessee’s top

law enforcement agency— not only believes that arresting the Plaintiff for his offensive

speech is appropriate, but that criticizing law enforcement for violating the Plaintiff’s First

Amendment rights is akin to defending insurrection:




       38.    After arresting the Plaintiff, the Defendants acted in concert to prepare and

issue a media release regarding the Plaintiff’s arrest that included his full name, his

mugshot, his date of birth, a reference to unrelated criminal charges, and the fact that the

Defendants had secured a substantial bond that ensured the Plaintiff would be

incarcerated for an extended time period. The purpose of this press release, regarding

which all Defendants were apprised, was to humiliate and retaliate against the Plaintiff

and to deter other similarly situated persons who wished to exercise their constitutional

rights to criticize or disrespect law enforcement from doing so.

       39.    The public reaction to the Defendants’ press release and their celebration of

the Plaintiff’s arrest was not what the Defendants anticipated it would be. See generally


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Doc. #37-1. 4 In response to their press release, the TBI received dozens of critical calls

from citizens across the nation who were upset about the Defendants’ flagrant disregard

for the Constitution and their extreme ignorance of basic First Amendment rights. Upon

receiving such criticism, one TBI dispatcher complained: “We did not sign up for this.”

          40.      In response to the legitimate public criticism that they were receiving, the

Defendants did not release the Plaintiff from jail or take steps to remedy their flagrantly

unconstitutional conduct. Instead, to inhibit such criticism, the TBI began tracking the

critical calls they were receiving, surveilling callers, and, in at least one instance, decided

to “try[] to pin down who [the caller was] so we can ask the local police and maybe have

them go out there and ask him to stop.”

          41.      After the Defendants issued their press release, through the Tennessee

Bureau of Investigation, celebrating their investigation, arrest, and prosecution of the

Plaintiff, the TBI began receiving requests for comment from local and national news

outlets asking them to explain how they could have lawfully arrested the Plaintiff under

the circumstances.

          42.      Because the Plaintiff’s arrest was not lawful and could not plausibly have

been lawful, the TBI was unable to do so. Accordingly—and notwithstanding that specific

Defendants employed by the TBI had investigated and then arrested the Plaintiff,

participated in the charging decision at issue, and that Defendant Craig himself had sworn

out the affidavit enabling the Plaintiff’s criminal charge, see Doc. #1-3—the TBI

misleadingly deflected responsibility to Defendant Crouch and responded with some

version of the following statement:



4   Again, the redactions are the TBI’s.

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             When requested to investigate an incident by a District Attorney
       General, TBI agents serve as factfinders.

              The DA determines what, if any, charges are placed.

             For that reason, we will need to refer you to the District Attorney
       General with questions regarding the charge in this case.

       43.    The Plaintiff would ultimately be incarcerated for nearly two full weeks

before he was able to appear before a judge for a hearing on the charge at issue. The

Plaintiff was thus continuously incarcerated at the Dickson County Jail from January 22,

2021, until his preliminary hearing before Judge Craig Monsue on February 3, 2021.

Further, although several other individuals posted the very same image, only the Plaintiff

was investigated, arrested, and prosecuted for doing so, because the Defendants targeted

the Plaintiff specifically based on the viewpoint he had expressed about law enforcement.

       44.    During the Plaintiff’s preliminary hearing, Defendant Craig repeatedly

admitted that the Plaintiff had not posted the meme at issue with an unlawful purpose,

which was a threshold element of the harassment charge that he and the other Defendants

had conspired to initiate and then did initiate against the Plaintiff.

       45.    At the conclusion of the Plaintiff’s preliminary hearing on February 3, 2021,

Judge Monsue announced that the Court would dismiss the charge against the Plaintiff

for lack of probable cause. A written order and judgment dismissing, for lack of probable

cause, the harassment charge that the Defendants initiated against the Plaintiff was

entered by the Court thereafter. See Doc. #1-4. The Court spoke through this order—set

forth at Doc. #1-4—alone. Accordingly, the Plaintiff was the prevailing party in his

criminal proceeding, and, having prevailed in full, the Plaintiff had no adverse order to

appeal.

       46.    Only after the Court’s written order dismissing his case was entered was the
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Plaintiff finally released from jail. The Plaintiff became homeless as a result of the

Defendants’ conduct, however, so by that point, he had no home to which he could return.

Accordingly, the Plaintiff came to reside at a homeless shelter.

       47.      As a direct and proximate result of the Defendants’ unlawful actions, the

Plaintiff suffered extreme damages, a deprivation of his constitutional rights, unlawful

detention, psychological and emotional trauma, and damage to his reputation.

                                 V. CAUSES OF ACTION

CLAIM #1: MALICIOUS PROSECUTION UNDER 42 U.S.C. § 1983 AND TENNESSEE COMMON LAW

       48.      The Plaintiff incorporates and realleges the foregoing allegations as if fully

set forth herein.

       49.      Acting in concert with one another, and without probable cause to arrest the

Plaintiff, the Defendants wrongfully instituted legal process against the Plaintiff and

subjected the Plaintiff to a wrongful investigation, wrongful prosecution, and wrongful

incarceration in violation of the Fourth and Fourteenth Amendments to the United States

Constitution.

       50.      Public records confirm that all Defendants made, influenced, or specifically

participated in the decision to investigate, arrest, and/or charge the Plaintiff; that the

Defendants acted in concert with one another to ensure that the Plaintiff was investigated,

charged, and maliciously prosecuted for his speech; and that all Defendants were

continuously apprised of the status of the Plaintiff’s case at all stages of his proceedings.

The Defendants thus acted individually and collectively in pursuit of a common plan

under color of law with malicious intent to deprive the Plaintiff of his rights secured by

the United States Constitution. The Defendants have also undertaken to conceal the full

scope of their individual involvement by corresponding through phone calls designed to
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avoid creating public records evidencing their individual involvement and by making

extensive redactions to public records—including text message correspondence between

specific Defendants about the Plaintiff’s proceedings—that repeatedly indicate the

involvement of each individual Defendant, which redactions have been made on the basis

that they are “investigative records” that may only be divulged following a subpoena or

court order. See generally Docs. ## 37-1; 37-2; 37-3; 37-5.

         51.   All Defendants, individually and collectively, lacked probable cause to

institute criminal process against the Plaintiff. Even so, employees and agents of the

Tennessee Bureau of Investigation—including Defendants Rausch, Nealon, Winkler,

Melton, Craig, and Vallee—working alongside investigators from the Defendant City of

Dickson’s Police Department, including Defendant Arnold, “arrested and charged” the

Plaintiff, and the TBI issued a press release celebrating the Plaintiff’s arrest and charge

that emphasized the joint involvement of both law enforcement agencies. See Doc. #37-

1, PageID #617.

         52.   The Defendants’ criminal prosecution was enabled by a constitutionally

defective and facially invalid Affidavit of Complaint signed by Defendant Craig that

omitted essential, material information evidencing that no crime had been committed

and also falsely asserted, among other things, that the Plaintiff’s speech had criminally

“caused emotional distress to . . . the law enforcement officers from Dickson County.” See

Doc. #1-3.

         53.   As a consequence of the Defendants’ wrongful institution of legal process

against the Plaintiff, the Plaintiff suffered a deprivation of liberty apart from his initial

seizure, including continuous detention in jail for nearly two weeks without probable

cause.

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       54.    The Plaintiff’s criminal proceeding was resolved in the Plaintiff’s favor,

resulting in a written order reflecting that the Plaintiff was the prevailing party. Given

that the Plaintiff was the prevailing party, and given the interlocutory status of the order

ruling in the Plaintiff’s favor, the Plaintiff both could not appeal the Court’s order and had

no reason to do so given that the Plaintiff prevailed in full; obtained the complete

dismissal of the charge against him; and won an assessment of costs taxed to the

prosecutor. See Doc. #1-4.

       55.    The Plaintiff’s criminal proceeding was not resolved due to any plea or

settlement, but was resolved in the Plaintiff’s favor because he was innocent of any

criminal charge and because the Defendants lacked probable cause to believe that he had

committed any crime.

       56.    Although inessential to his malicious prosecution claim, the Defendants

acted with malice toward the Plaintiff and subjected the Plaintiff to a wrongful

investigation, wrongful prosecution, and wrongful incarceration because of the

constitutionally protected, anti-law enforcement, and disrespectful viewpoint that the

Plaintiff had expressed regarding the Dickson County Police Department.

       57.    Unrelated to Defendant Crouch’s preparation for the initiation of a

prosecution or for judicial proceedings, and unconnected to the judicial process,

Defendant Crouch performed and directed investigative and administrative functions to

facilitate and enable the Plaintiff’s arrest without probable cause; he directed a search for

clues and corroboration that would give him probable cause to recommend that the

Plaintiff be arrested; and he played the role of an advocate against the Plaintiff before he

had—and without ever acquiring—probable cause to have the Plaintiff arrested.

       58.    In so doing, Defendant Crouch acted independent of his prosecutorial role

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as a District Attorney and, separately, in violation of his professional ethical obligations,

among other things, to refrain from abusing the legal process, to avoid acting in “knowing

disregard of obligations,” and to avoid engaging in “a systematic abuse of prosecutorial

discretion.”   Defendant Crouch did so because he is incapable of acting neutrally,

constitutionally, and without bias where Sgt. Baker and his family are concerned. See

generally Doc. #37-8.

       59.     As a direct and proximate result of the Defendants’ malicious prosecution

of the Plaintiff, the Plaintiff suffered injuries, including, but not limited to, actual

damages, economic damages, a deprivation of his constitutional rights, unlawful

detention, psychological and emotional trauma, and damage to his reputation.

                         CLAIM #2: FALSE ARREST (42 U.S.C. § 1983)

       60.     The Plaintiff incorporates and realleges the foregoing allegations as if fully

set forth herein.

       61.     At all times relevant to this action, no Defendant had probable cause to

arrest or direct the arrest of the Plaintiff.

       62.     The Plaintiff was nonetheless arrested at the Defendants’ behest and

direction based on a facially invalid warrant that was premised upon Defendant Craig’s

materially false statements and/or material omissions.

       63.     At all times relevant to this action, all Defendants, both individually and

collectively, lacked reasonable grounds for belief supported by more than mere suspicion

that the Plaintiff had committed a crime.

       64.     The totality of the circumstances and the facts and circumstances of which

the Defendants had knowledge at the moment of the Plaintiff’s arrest were insufficient to

warrant a prudent person in believing that the Plaintiff had committed an offense.
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       65.    Even so, the Plaintiff was falsely arrested for a violation of Tenn. Code Ann.

§ 39-17-308 by Defendant Craig—in concert with and at the direction of Defendant

Crouch and the other Defendants—without probable cause. Thereafter, the Defendants

celebrated their arrest through a press release that stated: “Special Agents from the

Tennessee Bureau of Investigation, working alongside investigators from the Dickson

Police Department, have arrested and charged a Lyles man accused of manufacturing and

disseminating a harassing photograph on social media.” See Doc. #37-1, PageID #617.

The release further detailed that the Plaintiff’s initial investigation and ultimate arrest

came “[a]t the request of 23rd District Attorney General Ray Crouch[.]” Id.

       66.    The charges against the Plaintiff resulted in a deprivation of the Plaintiff’s

liberty, in that the Plaintiff was taken into custody, jailed continuously between January

22, 2021, and February 3, 2021, assigned a deliberately punitive bond that he could not

pay, and forced to seek a preliminary hearing to obtain his freedom from the false and

malicious charge that the Defendants concocted against him without probable cause to

believe the Plaintiff had committed any crime.

       67.    The Defendants acted with malice when they falsely arrested and baselessly

charged the Plaintiff with violating Tenn. Code Ann. § 39-17-308.

       68.    The Defendants falsely arrested and charged the Plaintiff with violating

Tenn. Code Ann. § 39-17-308 despite their actual knowledge that clearly established law

made clear that the Plaintiff’s speech was constitutionally protected and was not illegal.

       69.    The Plaintiff suffered actual damages as a proximate result of the

Defendants’ false arrest.

              CLAIM #3: FIRST AMENDMENT RETALIATION (42 U.S.C. § 1983)

       70.    The Plaintiff incorporates and realleges the foregoing allegations as if fully
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set forth herein.

       71.    At all times relevant to this Complaint, the Plaintiff had First Amendment

rights as a citizen that were not inconsistent with his status as a suspect or defendant.

       72.    Retaliation based upon a citizen’s exercise of his constitutional rights

violates the United States Constitution.

       73.    By posting the meme at issue, the Plaintiff engaged in speech and

expression protected by the First and Fourteenth Amendments to the Constitution, and

Judge Monsue’s written order—set forth at Doc. #1-4—did not hold otherwise.

       74.    In retaliation for the Plaintiff engaging in speech and expression protected

by the Constitution, the Defendants planned and then took extreme adverse actions

against the Plaintiff, including, but not limited to, subjecting the Plaintiff to a wrongful

investigation, wrongful prosecution, and extended wrongful incarceration; publicly

humiliating the Plaintiff through public statements and media releases touting the

Defendants’ false arrest of the Plaintiff; maliciously prosecuting the Plaintiff; and seeking

and securing an unreasonably high and punitive bond to prevent the Plaintiff’s timely

release from jail.

       75.    The adverse actions that the Defendants took against the Plaintiff would

deter a person of ordinary firmness from continuing to engage in constitutionally

protected conduct and would likely have a strong deterrent effect on others similarly

situated, which is precisely what the Defendants’ actions were designed to do.

       76.    The Defendants took adverse actions against the Plaintiff at least in part

because of the Plaintiff’s exercise of constitutionally protected conduct and his clearly

established First Amendment rights.

       77.    The Defendants took adverse actions against the Plaintiff at least in part

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because the Defendants disagreed with the offensive viewpoint that the Plaintiff had

expressed.

       78.    The Defendants took adverse actions against the Plaintiff at least in part

because the Defendants wished to see the Plaintiff suffer significant “consequences” for

his constitutionally protected speech.

       79.    The Defendants took adverse actions against the Plaintiff at least in part

because the Defendants do not respect fundamental First Amendment guarantees and

because the Defendants do not believe that they are or should be constrained by them.

       80.    As a proximate result of the Defendants’ unconstitutional retaliation against

the Plaintiff, the Plaintiff suffered damages.

                CLAIM #4: DENIAL OF EQUAL PROTECTION (42 U.S.C. § 1983)

       81.    The Plaintiff incorporates and realleges the foregoing allegations as if fully

set forth herein.

       82.    The Plaintiff was not the only person to post the image that resulted in the

Plaintiff’s investigation, arrest, and prosecution.

       83.    Instead, dozens—possibly hundreds—of other individuals posted the very

same image, and the Defendants were actually aware of that fact.

       84.    Even though similarly situated individuals posted the same image as the

Plaintiff on social media, no similarly situated individual who posted the same image at

issue was arrested or prosecuted for doing so.

       85.    Similarly situated individuals who posted the same image at issue were not

subject to the same treatment the Plaintiff received because their posting of the image at

issue expressed a different viewpoint than the Plaintiff had expressed.

       86.    The Defendants treated the Plaintiff disparately as compared to similarly
                                            -22-

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situated persons, and such disparate treatment burdened the Plaintiff’s fundamental and

clearly established First Amendment rights.

          87.   The Defendants treated the Plaintiff disparately as compared to similarly

situated persons, and such disparate treatment had no rational basis.

          88.   The Defendants’ disparate treatment of the Plaintiff contravened the 14th

Amendment and deprived the Plaintiff of the equal protection of the laws.

          89.   As a proximate result of the Defendants’ disparate treatment of the Plaintiff,

the Plaintiff suffered actual and severe damages.

                       CLAIM #5: CIVIL CONSPIRACY/AGENCY LIABILITY

          90.   The Plaintiff incorporates and realleges the foregoing allegations as if fully

set forth herein.

          91.   At all times relevant to this matter, the Defendants acted in concert with, at

the direction of, and as agents of, one another to commit the foregoing tortious

misconduct, and all Defendants acted under color of law.

          92.   At all times relevant to this matter, the Defendants had the intent and

knowledge of one another’s intent to accomplish by concert an unlawful purpose—or to

accomplish by concert a lawful purpose by unlawful means—all of the foregoing tortious

misconduct, including conspiring with one another to effect the Plaintiff’s false arrest,

malicious prosecution, and take other unconstitutionally retaliatory acts against him.

          93.   The Defendants conspired with one another and agreed to injure the

Plaintiff through unconstitutional action under color of law.

          94.   Each Defendant shared in the general conspiratorial objective to injure the

Plaintiff for expressing a viewpoint critical of law enforcement, causing the Plaintiff

injury.
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          95.   The Defendants are liable for one another’s acts undertaken in furtherance

of their civil conspiracy, and each Defendant is jointly and severally liable for the unlawful

acts of each other Defendant pursuant to Tenn. Code Ann. § 29-11-107(b)(1) and general

federal common law, see Hooks v. Hooks, 771 F.2d 935, 944 (6th Cir. 1985).

          CLAIM #6: THE CITY OF DICKSON’S UNCONSTITUTIONAL POLICIES AND PRACTICES

          96.   The Plaintiff incorporates and realleges the foregoing allegations as if fully

set forth herein.

          97.   The City of Dickson, acting by and through its policymakers, officers, and

agents, including Defendant Arnold, and acting under color of state law, violated the

Plaintiff’s clearly established rights secured by the First and Fourteenth Amendments to

the United States Constitution.

          98.   The tortious acts and omissions of the City of Dickson, acting by and

through its policymakers, officers, and agents, including Defendant Arnold, were the

direct and proximate result of official municipal policies or customs created by the City of

Dickson and their execution or implementation against the Plaintiff, causing the Plaintiff

injury.

          99.   The City of Dickson’s customs, practices, or de facto policies are evidenced

by actions taken by officials with final decision-making authority, policies of inadequate

training or supervision, and a custom of tolerance or acquiescence of federal rights

violations, including, in this instance, the City of Dickson’s premeditated and public

commitment to violating the Plaintiff’s clearly established First Amendment rights and

its failure to remedy its unconstitutional conduct even after acquiring actual knowledge

that it had acted unconstitutionally. Despite the City of Dickson’s actual knowledge of its

unconstitutional conduct, officials with final decision-making authority have ratified it
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and knowingly misrepresented the City of Dickson’s underlying involvement in the

Plaintiff’s unconstitutional arrest and prosecution in lieu of remedying it. See Doc. #37-

4, PageID #831.

       100.    Upon information and belief, the City of Dickson, through its employees,

engages in a clear and persistent pattern of unconstitutional action against those who

express views critical of law enforcement; it has notice or constructive notice of that fact;

it has tacitly approved of the unconstitutional conduct at issue, such that its deliberate

indifference can be said to amount to an official policy of inaction; and the City of

Dickson’s unconstitutional custom was the moving force or direct causal link in the

deprivation of the Plaintiff’s constitutional rights. This pattern specifically includes, but

is not limited to, the initiation of the investigation into the Plaintiff as well as the Plaintiff’s

subsequent arrest and prosecution, and it is evident from the Defendants’ requests to

other law enforcement agencies to launch investigations into individuals who contacted

the TBI to protest the Plaintiff’s treatment.

       101.    The City of Dickson fails to train or supervise its employees to prevent

constitutional violations like those the Plaintiff suffered, it has knowingly misrepresented

its involvement in the constitutional violations that the Plaintiff suffered, and it provides

training and supervision that is inadequate to prevent such violations from recurring.

       102.    The City of Dickson’s inadequate training is a result of the City of Dickson’s

deliberate indifference to federal constitutional rights. For example, the text message

exchange between two Defendants explicitly stating that even though the Plaintiff

exercised his First Amendment rights, he could still be subject to “consequences”—up to

and including prosecution and incarceration at the hands of the state—indicates a lack of

understanding of the very nature of the First Amendment. Coupled with the City of

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Dickson’s and its employees’ repeated violations of the Plaintiff’s and other citizens’ First

Amendment rights and its knowing misrepresentations regarding the underlying role that

the City of Dickson and its employees had in the Plaintiff’s arrest and prosecution, this

demonstrates a widespread pattern of ignorance of or deliberate indifference to the First

Amendment, indicating a widespread failure of training.

       103.   The City of Dickson’s inadequate training was closely related to or actually

caused the Plaintiff’s injury.

       104.   The City of Dickson has failed to promulgate appropriate policies or

procedures or take other measures to prevent violations of the First Amendment by its

employees, agents, or officers, and upon information and belief, no employee involved in

the Plaintiff’s false arrest, malicious prosecution, or unconstitutional retaliation,

including Defendant Arnold, has been disciplined for misconduct.

       105.   As a direct and proximate consequence of the City of Dickson’s failure to

develop, implement, and otherwise devise a policy of adequate training and/or

supervision for its employees, agents, and officers, the Plaintiff was deprived of his civil

and constitutional rights, privileges, and immunities and was subjected to criminal

prosecution and an extended period of unlawful incarceration. Properly trained and

supervised employees, agents, and officers would have known not to engage in the acts

which resulted in the deprivation of the Plaintiff’s civil and constitutional rights.

       106.   As a direct and proximate result of the customs, practices, and/or de facto

policies of the City of Dickson and the City of Dickson’s deliberate indifference to the

Plaintiff’s clearly established constitutional rights, the Plaintiff suffered damages.




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   CLAIM #7: INJUNCTIVE AND DECLARATORY RELIEF AGAINST THE CITY OF DICKSON AND
           DEFENDANTS CROUCH AND RAUSCH IN THEIR OFFICIAL CAPACITIES

       107.   The Plaintiff incorporates and realleges the foregoing allegations as if fully

set forth herein.

       108.   Upon information and belief, Defendant Crouch desires to re-prosecute the

Plaintiff regarding this specific instance of protected speech and will seek his indictment

via direct presentment in the absence of an injunction prohibiting him from doing so.

       109.   Defendant Crouch has been asked, through counsel, if he will affirmatively

disclaim all future investigation and prosecution of Mr. Garton regarding this matter, and

Defendant Crouch has expressly declined to do so. See Doc. #37-6, PageID ## 1237–38.

       110.   Defendant Crouch harbors extreme personal animus toward the Plaintiff;

he has acted with bias toward Plaintiff, including by directing the Plaintiff’s investigation;

and he is incapable of approaching the Plaintiff’s disrespectful speech neutrally and

without bias—despite actual knowledge of the Plaintiff’s mental illness—because

Defendant Crouch “has been publicly and closely aligned with Sgt. Baker, his family and

law enforcement through the pendency of” the criminal case of Sgt. Baker’s killer. See

generally Doc. #37-8; id. at PageID #1392.

       111.   The Tennessee Bureau of Investigation and the Defendant City of Dickson

consider the investigation of the Plaintiff to be open and ongoing, and they have redacted

and refused to disclose to the Plaintiff’s counsel records that would otherwise be public

on the basis that they withheld records are “investigative” in nature. The Defendant City

of Dickson and its agents have also falsely and formally asserted a “lack of involvement in

Plaintiff’s arrest,” see Doc. 37-4, PageID ## 831, despite abundant public records

revealing their extensive involvement and continuous interest in it.


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       112.    Upon information and belief, Defendant Rausch will direct his agency’s

resources toward investigating the Plaintiff and anyone who expresses support for the

Plaintiff if the Plaintiff again exercises his constitutional right to criticize law

enforcement.

       113.    Upon information and belief, Defendant Rausch, acting in his official

capacity as the Director of and policymaker for TBI, has demonstrated a clear and

persistent pattern of failing to discipline the TBI’s employees, agents, or officers for

constitutional violations; has policies that are insufficient to protect the constitutional

rights of individuals as those policies are applied and understood within the TBI; and/or

actively allows and participates in retaliation when citizens exercise their constitutionally

protected rights. This is evident from, among other things, the fact that every TBI

employee, agent, or officer involved in the tortious misconduct set forth in this Complaint

violated the Plaintiff’s clearly established First Amendment right to express an offensive

viewpoint regarding a matter of public concern. Each of those employees, agents, or

officers retaliated against the Plaintiff and, upon information and belief, none of those

individuals was found to have violated a TBI policy thereafter. Each of those employees,

agents, or officers misused their positions as law enforcement agents by investigating the

Plaintiff without reasonable articulable suspicion or probable cause that any crime had

occurred, and Director Rausch personally oversaw the implementation of these polices

and personally and expressly approved the actions of his employees in this matter.

       114.    Upon information and belief, Defendants Crouch, Rausch, and the City of

Dickson may or will continue to pursue the investigation and prosecution of the Plaintiff

regarding this specific instance of protected speech absent an injunction.

       115.    If the Plaintiff continues to be investigated and prosecuted, the Plaintiff will

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necessarily suffer immediate and irreparable harm, harm resulting from incarceration,

and harm resulting from having to defend against another false and malicious

prosecution.

       116.    Because Defendants Crouch, Rausch and the City of Dickson have

previously subjected the Plaintiff to an investigation, arrest, and a prolonged period of

incarceration as a result of his exercise of clearly established First Amendment rights, and

because the Plaintiff credibly fears that he will experience the same consequences if he

exercises his clearly established First Amendment rights in the same manner again, the

Plaintiff’s speech will be irreparably chilled in the absence of a permanent injunction.

       117.    Remedies available at law, such as monetary damages, are inadequate to

compensate the Plaintiff for the injury to his First Amendment rights.

       118.    Considering the balance of hardships between the Plaintiff and Defendants

Crouch, Rausch, and the City of Dickson, a remedy in equity is warranted.

       119.    The public interest would not be disserved and would be furthered by a

permanent injunction forbidding Defendants Crouch, Rausch, and the City of Dickson

from taking adverse action against the Plaintiff as a result of his exercise of clearly

established First Amendment rights, which Defendants Crouch, Rausch, and the City of

Dickson have made clear they do not and will not respect.

       120.    The Plaintiff is additionally and alternatively entitled to declaratory relief

under both federal law and Tenn. Code Ann. § 1-3-121 for the same reasons. In the event

that this Court finds that injunctive relief is not warranted, the Plaintiff is still entitled to

declaratory relief sufficient to inform state and local law enforcement that the Plaintiff’s

speech and expression are fully protected under the First Amendment and may not result

in the Plaintiff’s arrest, prosecution, or governmental retaliation of any kind.

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                                  VI. PRAYER FOR RELIEF

WHEREFORE, the Plaintiff prays for the following relief:

       1.         That process issue, and that the Defendants be required to appear and

answer this Complaint within the time required by law;

       2.         That the Plaintiff be awarded all compensatory, consequential, incidental,

and punitive damages to which he is entitled in an amount not less than $1 million;

       3.         That the Plaintiff be awarded all costs and discretionary costs of trying this

action;

       4.         That the Plaintiff be awarded his reasonable attorney’s fees pursuant to 42

U.S.C. § 1988(b);

       5.         That a jury of 12 be empaneled to try this cause;

       6.         That pre-judgment and post-judgment interest be awarded to the Plaintiff;

       7.         That permanent injunctive and declaratory relief issue; and

       8.         That the Plaintiff be awarded any and all further relief to which it appears

he is entitled.

                                                      Respectfully submitted,

                                                      /s/ Daniel A. Horwitz__________
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                                                      Attorneys for Plaintiff




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                           CERTIFICATE OF SERVICE

      I hereby certify that on this 27th day of July, 2021, a copy of the foregoing was
transmitted via CM/ECF to:

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      By:    /s/ Daniel A. Horwitz_____




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